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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

DARRELL LAW,

                  Petitioner,

v.                                             CIVIL NO. 1:08CV171
                                               CRIMINAL NO. 1:06CR20-9
                                                   (Judge Keeley)

UNITED STATES OF AMERICA


                  Respondent.

                    MEMORANDUM OPINION AND ORDER
             ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
         RECOMMENDATION [DKT. NO. 26], AND DISMISSING WITH
         PREJUDICE PETITIONER’S § 2255 MOTION [DKT. NO. 1]
        AND DENYING PETITIONER’S § 2513 MOTION [DKT. NO. 30]

                        I. PROCEDURAL BACKGROUND

      On March 7, 2006, a federal grand jury returned a thirteen

count indictment which specifically named the pro se petitioner,

Darrell Law (“Law”), in three counts. See United States v. Bruder,

et al., No. 1:06CR20 (N.D.W. Va. Mar. 8, 2006) (dkt. no. 1). Later,

on October 12, 2006, a jury convicted Law on all three counts,

following which, on March 2, 2007, this Court sentenced him to ten

years of imprisonment.

      On March 14, 2007, Law appealed his conviction, and on

June 20, 2008, the Fourth Circuit Court of Appeals affirmed Law’s

conviction and sentence in an unpublished per curiam opinion. See

United States v. Anderson, et al., 282 Fed. Appx. 255, 258 (4th

Cir. 2008) (unpublished). On July 7, 2008, Law’s appellate counsel
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filed a motion for rehearing and rehearing en banc, which the

Fourth Circuit denied on July 24, 2008.

      On August 25, 2008, Law filed a pro se Petition to Vacate

Convictions and/or Sentences pursuant to 28 U.S.C. § 2255 (“§ 2255

motion”), which asserted the following grounds for relief:

            (1)   The Government’s decision to prosecute
                  him was vindictive and selective;
            (2)   Convictions          resulting from
                  unconstitutional pre-trial and trial
                  proceeding(s)    are    illegal     and/or
                  fundamentally unfair;
                       a) Petitioner’s trial was presided
                       over by a District Judge who was one
                       of the respondents in a Bivens
                       action    petitioner     had    filed
                       approximately one month earlier;
                       b) The Court abused its discretion
                       when it appointed co-counsel for
                       petitioner;
                       c) The Court abused its discretion
                       when it failed to conduct an
                       evidentiary hearing;
                       d) The Special Interrogatory Form
                       used at trial invaded the fact-
                       finding duty of the jury.
            (3)   Sentencing was unreasonable;
            (4)   Ineffective assistance of counsel during
                  pre-trial, trial, and sentencing; and
            (5)   Ineffective   assistance   of    appellate
                  counsel on direct appeal.

R&R at 4 (dkt. no. 26).




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       The Court referred Law’s petition to Magistrate Judge David J.

Joel (“magistrate judge”) for an initial review and a report and

recommendation (“R&R”) pursuant to L.R. P.L. 83.09 and Standing

Order No. 4. On December 28, 2009, Magistrate Judge Joel issued an

R&R    recommending    that    Law’s   §       2255   motion   be    dismissed    with

prejudice. On January 14, 2010, Law filed timely objections to the

R&R.

       After conducting a de novo review of the R&R in light of Law’s

objections, for the reasons that follow, the Court ADOPTS Magistrate

Judge Joel’s R&R in its entirety and DISMISSES WITH PREJUDICE Law’s

§ 2255 motion.

             II. MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Magistrate Judge Joel’s R&R recommends that Law’s first,

second, and third claims be dismissed because they are procedurally

barred, and further recommends that Law’s fourth and fifth claims

be dismissed because they are inadequately pleaded. In reaching

these conclusions, the magistrate judge found that Law’s first

claim, that he was prosecuted in a vindictive and selective manner,

and    his   second   claim,   that    he      was    convicted     as   a   result   of

unconstitutional and unfair pre-trial and trial proceedings (a)

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because the District Judge was biased against him and should have

recused herself from the case, and (b) because the District Court

abused   its   discretion    by   appointing    co-counsel    for   Law,   are

procedurally barred because Law had the opportunity to raise them

on appeal but failed to do so. The magistrate judge recognized that

“in order to collaterally attack a conviction based upon errors that

could have been but were not pursued on direct appeal, the movant

must show cause and actual prejudice resulting from the errors of

which he complains or he must demonstrate that a miscarriage of

justice would result from the refusal of the court to entertain the

collateral attack.” United States v. Mikalajunas, 186 F.3d 490, 492-

93 (4th Cir. 1999). Finding that Law demonstrated no cause for

failing to raise such issues on appeal, and provided no evidence of

actual prejudice, the magistrate judge             recommended that these

claims be dismissed.

      The magistrate judge reasoned further that           Law’s claim that

his conviction was due to unconstitutional and unfair pre-trial and

trial proceedings because (c) the court abused its discretion by not

conducting an evidentiary hearing, and (d) the Special Interrogatory

Form used at trial invaded the jury’s fact-finding responsibility,


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and his third claim that his sentence was unreasonable, are also

procedurally barred because these issues had been raised on appeal

and rejected by the Fourth Circuit. He recommended that these claims

should be dismissed because Law had raised these issues on appeal

and had made no showing of any change of law since the Fourth

Circuit had rejected them. See Davis v. United States, 417 U.S. 333

(1974); Boeckenhaupt v. United States, 537 F.2d 1182 (4th Cir. 1976)

(holding that issues pursued on appeal and adjudicated on appeal

cannot be considered again unless the petitioner can illustrate that

the law has changed).

      The magistrate judge also recommended that Law’s fourth claim,

that he received ineffective assistance of counsel during pre-trial,

trial and sentencing proceedings, be dismissed because it was

insufficiently pleaded. Law contends that his counsel rendered

ineffective assistance to him due to a conflict of interest that

arose from the Court’s appointment of co-counsel. The magistrate

judge recognized that, in order to prevail on an ineffective

assistance of counsel claim deriving from a conflict of interest,

the claimant must prove “(1) that his lawyer was under an actual

conflict of interest, and (2) that this conflict adversely affected


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his lawyer’s performance.” United States v. Nicholson, 475 F.3d 241,

249 (4th Cir. 2007) (citing Cuyler v. Sullivan, 446 U.S. 335, 348

(1980)). He found that Law’s petition failed to demonstrate that a

conflict existed between Law and his counsel, or that he had been

adversely affected by his counsel’s performance, and             recommended

that these claims be dismissed as well.

      The magistrate judge further recommended that Law’s fifth

claim, ineffective assistance of counsel on direct appeal, be

dismissed because it too had been insufficiently pleaded. To prevail

under such a claim, Law must establish “(1) that his counsel’s

performance fell below an objective standard of reasonableness in

light of the prevailing norms, and (2) that there is reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Bell v. Jarvis,

236 F.3d 149, 164 (4th Cir. 2000). In his present petition, Law

argues that his counsel failed to raise several issues on appeal,

and was so ineffective that he had to file his own pro se appellate

brief. Law additionally contends that the Forth Circuit did not

consider his pro se brief while resolving his case.




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      In light of these contentions, the magistrate judge determined

that appellate counsel is accorded the “presumption that he decided

which issues were most likely to afford relief on appeal.” Pruett

v. Thompson, 996 F.2d 1560, 1568 (4th Cir. 1993). He also recognized

that “counsel is not obligated to assert all nonfrivolous issues on

appeal.” Bell, 236 F.3d at 164. He therefore recommended that Law’s

fifth claim be dismissed because Law had neither demonstrated that

his   counsel’s   performance    was   below   an   objective   standard   of

reasonableness, nor established that, had his counsel performed

differently, it would have changed the outcome of his appeal. The

magistrate judge also noted that claims not raised by Law’s counsel

could have been raised by Law himself in the appellate brief he

filed pro se, which the Fourth Circuit considered when rejecting

Law’s appeal.

      The    magistrate    judge    further     recommended     that    Law’s

September 5, 2008 pro se Motion requesting a Special Grand Jury and

Prosecutor (dkt no. 4), his October 17, 2008 pro se Motion to be

Released Pending Resolution of his § 2255 Petition (dkt. no. 7), his

December 10, 2008 pro se Motion for Status Conference (dkt. no. 9),

Law’s December 17, 2009 pro se Motion for Omnibus Discovery in


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Buttress        of   Evidentiary    Hearing       for   “Selective        Vindictive

Prosecution” (dkt. no. 23), and his December 17, 2009, pro se Motion

for   Evidentiary      Hearing     in   Specific    Regard     to   the    Claim    of

“Selective Vindictive Prosecution” (dkt. no. 24) all be denied as

moot.

                            III. LAW’S OBJECTIONS

        In his first objection, Law contends that before this Court may

determine the outcome of his Petition it should hold an evidentiary

hearing regarding his “Selective Vindictive Prosecution” claim. In

support of this objection, he asserts that the government’s response

to his § 2255 motion (dkt. no. 5) was brief and simplistic, and does

not sufficiently demonstrate that he is not entitled to relief.

Furthermore, Law contends that the government’s response failed to

comply with Rule 5 of the Rules Governing § 2255 Proceedings because

it made no reference to his selective and vindictive prosecution

claim.

        Law’s    second   objection     asserts    that   he   should      have    the

opportunity to further develop evidentiary support for his claims.

Law argues that the magistrate judge misconstrued statements in his

reply to the government’s response (dkt. no. 6) to his September 15,


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2008, § 2255 motion to supplement Law’s original claims, and

utilized these supplements to render his motions moot.

      Law’s third objection is that the magistrate judge violated

Rule 72 of the Federal Rules of Civil Procedure by dismissing his

October 17, 2008 Motion to be Released Pending Resolution of his

§ 2255 Petition. Law further objects “to the [M]agistrate[’]s

inferred    proposal   that   prejudice    should   not   be   automatically

presumed” in an ineffective assistance of counsel claim, Objection

to R&R at 5. Finally, Law objects to the magistrate judge’s

conclusion that his pro se brief filed on appeal precludes his

ineffective assistance of counsel claim. He suggests that this

should have no effect on the viability of his claims, and that

contrary to the magistrate judge’s findings the Fourth Circuit did

not consider his pro se brief.

                          IV. STANDARD OF REVIEW

      When considering a magistrate judge’s R&R, a court should

review de novo any portion of the R&R to which a specific objection

is made, 28 U.S.C. § 636(b)(1), but may adopt without explanation

any   of   the   magistrate    judge’s    recommendations      to   which   the

petitioner does not object. Camby v. Davis, 718 F.2d 198, 199 (4th


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Cir. 1983). Accordingly, the Court will address only those portions

of the R&R to which Law has specifically objected.

                                  V. ANALYSIS

      A. Evidentiary Hearing

      Law’s objection to the magistrate judge’s recommendation that

his December 17, 2009 pro se Motion for Evidentiary Hearing in

Specific    Regard    to   his   first    Claim   of   “Selective   Vindictive

Prosecution” be denied, as well as his belief that he is entitled

to an evidentiary hearing before the Court decides his § 2255

Petition, are without merit. With respect to his claim that he was

selectively     and   vindictively       prosecuted,   the   magistrate   judge

correctly determined that this claim is procedurally barred because

Law raised it for the first time in a § 2255 petition, and failed

either to show cause for this procedural lapse or actual prejudice

deriving from the alleged errors. See United States v. Maybeck, 23

F.3d 888, 891 (4th Cir. 1994); see also Kaufman v. United States,

394 U.S. 217, 227 n.8 (1969) (stating “[w]here a trial or appellate

court has determined the federal prisoner's claim, discretion may

in a proper case be exercised against the grant of a § 2255

hearing”); see also United States v. Crockett, 917 F.2d 1302 (4th

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Cir. 1990)(holding that when a defendant has failed to raise an

objection at     trial and on direct appeal, he has waived that

objection for purposes of § 2255 unless he can show both (1) cause

excusing his double procedural default, and (2) actual prejudice

resulting from the errors of which he complains). Therefore, Law

waived any right to pursue a claim that he was selectively and

vindictively prosecuted when he failed to raise such a claim at

trial or on direct appeal.

      Law’s   objection,    that   the     government’s   response     to   his

Petition (dkt. no. 5) failed to comply with Rule 5(b)-(c) of the

Rules Governing § 2255 Proceedings by not addressing his selective

and vindictive prosecution claim, is also without merit. Rule 5, in

pertinent part, provides:

            (b) Contents. The answer must address the
            allegations in the motion. In addition, it must
            state whether the moving party has used any
            other federal remedies, including any prior
            post conviction motions under these rules or
            any other previous rules, and whether the
            moving party received an evidentiary hearing.
            (c) Records of Prior Proceedings. If the answer
            refers to briefs or transcripts of the prior
            proceedings that are not available in the
            courts records, the judge must order the
            government to furnish them within a reasonable



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              time   that  will      not   unduly       delay   the
              proceedings.

Rules    on   Motion   Attacking    Sentence    Under    Section   2255,     Rule

5(b),(c). In its response, the government addressed Law’s selective

and vindictive prosecution claim by asserting that the claim was

procedurally barred because Law had failed to raise the claim on

direct appeal. The magistrate judge correctly concluded that Law’s

selective and vindictive prosecution claim was procedurally barred,

and Rule 5 does not permit Law to overcome that barrier. The record

in this case is sufficient to allow this conclusion, and there is

no need for an additional briefing order or transcripts pursuant to

Rule 5(c).

      B. Further Opportunity to Develop Claims

      Law’s objection that he should be granted the opportunity to

further develop his claims is also without merit. His first three

claims, that (1) his prosecution was vindictive and selective, (2)

his convictions resulted from unconstitutional pre-trial and trial

proceedings,     and   (3)   his   sentence    was   unreasonable,     are    all

procedurally barred because he either failed to raise them on appeal

or because such claims were heard and decided on appeal. See Davis,



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417 U.S. 333     (holding that issues presented and decided on direct

appeal cannot be reconsidered in a § 2255 motion unless the

petitioner can demonstrate that there has been a change in law); see

also Kaufman, 394 U.S. at 227 n.8; and United States v. Landrum, 93

F.3d 122, 124 (4th Cir. 1996)(holding that a claim raised for the

first time in a 28 U.S.C § 2255 motion generally is not cognizable

in federal courts unless the petitioner demonstrates both (1) cause

excusing his procedural default, and (2) actual prejudice resulting

from    the   errors     of   which   he        complains).   Therefore,     Law   is

procedurally barred from further developing these claims in his §

2255 motion.

       Nor may Law’s fourth claim, ineffective assistance of counsel

during pre-trial, trial and sentencing proceedings, be further

developed because his pleadings consist of conclusory statements

unsubstantiated     by    any   facts      or     evidence.   To   prevail    on   an

ineffective assistance of counsel claim, a petitioner must first

show that his counsel’s performance was deficient because it fell

below an objective standard of reasonableness, and second, that his

counsel’s deficiency of performance prejudiced him. Strickland v.

Washington, 466 U.S. 668, 687-88 (1984). In order to establish


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prejudice under the Strickland test, a petitioner must demonstrate

that “counsel’s errors were so serious as to deprive the defendant

of a fair trial, a trial whose result is reliable.” Id.

       Law contends that he received ineffective assistance of counsel

because a conflict of interest existed between him and his counsel.

To show that a conflict of interest exists, a petitioner must

illustrate that “his interest diverged with respect to a material

factual or legal issue or to a course of action.” Gilbert v. Moore,

134 F.3d 642, 652 (4th Cir. 1998)(en banc). Additionally, a conflict

can be proven when a petitioner’s lawyer “is actively engaged in

legal representation which requires him to account to two masters,”

or when the lawyer does not take action on behalf of the petitioner

because it would harm another client. United States v. Tatum, 943

F.2d 370, 376 (4th Cir. 1991). As the magistrate judge correctly

observed,     to   prove   that   a   conflict     of   interest    results    in

ineffective assistance of counsel, a petitioner must first establish

that his counsel had an actual conflict of interest, and second,

that   such   actual   conflict    of   interest    adversely      affected   his

counsel’s performance. Cuyler v. Sullivan, 446 U.S. at 348.




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       Law has alleged nothing at all to support a claim that a

conflict of interest existed between him and his counsel, or, if

such a conflict did exist, that it resulted in the provision of

ineffective assistance to him by his attorney. Furthermore, he has

failed to show that his interests diverged from those of his

counsel, or that his counsel withheld action on behalf of Law in

order to prevent injury to another client. Additionally, Law offers

nothing to suggest that, were a conflict present, it adversely

affected his lawyer’s performance.

       In McFarland v. Scott, the Supreme Court of the United States

held    that   “[h]abeas    petitions        must   meet   heightened    pleading

requirements” and that “Federal courts are authorized to dismiss

summarily any habeas petition that appears legally insufficient on

its face.” 512 U.S. 849, 856 (1994). Law’s claim that he received

ineffective assistance of counsel during pre-trial, trial and

sentencing proceedings may not be developed further because his

petition consists of mere conclusory statements that are legally

insufficient and subject to summary dismissal. See Nickerson v. Lee,

971 F.2d 1125, 1136 (4th Cir. 1992)(concluding “that a habeas

petitioner must come forward with some evidence that the claim might


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have merit” and that “unsupported, conclusory allegations do not

entitle a habeas petitioner to an evidentiary hearing”); see also

Strickland, 466 U.S. at 689 (holding that “a convicted defendant

making a claim of ineffective assistance must identify the acts or

omissions of counsel that are alleged not to have been the result

of reasonable professional judgment”).

      Similarly, Law may not further develop his fifth claim, that

he received ineffective assistance of counsel on direct appeal. To

prevail on this claim, Law also must satisfy the requirements in

Strickland. See Bell, 236 F.3d at 164 (“In order to establish a

claim that appellate counsel was ineffective for failing to pursue

a claim on direct appeal, the applicant must normally demonstrate

(1) that his counsel's representation fell below an objective

standard of reasonableness in light of the prevailing professional

norms, and (2) that there is a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would

have been different”). Appellate counsel is presumed to have raised

the issues most likely to yield relief. Pruett v. Thompson, 996 F.2d

1560, 1568 (4th Cir. 1993). “Generally only when ignored issues are

clearly stronger than those presented, will the presumption of


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effective assistance of counsel be overcome.” Gray v. Greer, 800

F.2d 644, 646 (7th Cir. 1986).

       Law contends that his counsel failed to raise ten grounds for

relief on appeal. In addressing this contention, Magistrate Judge

Joel    recognized    that    “[t]he      entire   Ground    Five   claims   are

insufficiently pled, a mere recitation of a laundry list of claims

with no argument in support.” R&R at 17. This conclusion is correct.

Law has neither demonstrated that his lawyer performed below an

objective standard of reasonableness, nor that, had his counsel

performed differently, the outcome of his appeal would have changed.

Therefore, Law’s Ground Five claims may not be developed further

because they are insufficiently pleaded and consist of nothing more

than a list of conclusory statements. See Nickerson, 971 F.2d at

1136; see also Strickland, 466 U.S. at 689.

       Law’s   objection     that   the     magistrate      judge   misconstrued

statements in his response to the Government’s answer to his

September 15, 2008 petition to supplement his original claims, and

utilized those supplements to render Law’s motions moot, is also

unavailing. Contrary to Law’s assertion, the magistrate judge gave

Law every opportunity to plead properly by construing his responses


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as additions to his allegations and supplements to his initial

claims.    However,   even   after   permitting    Law   to   supplement   his

original claims with additional allegations, the magistrate judge

found that Law’s claims were still insufficiently pleaded and

properly recommended that they be dismissed.

      At bottom, Law may not further develop factual support for his

claims through discovery because his first, second and third claims

are procedurally barred, and because his fourth and fifth claims

consist of conclusory statements devoid of any argument or facts

demonstrating how or why he is entitled to relief. Therefore, Law

is unable to pursue any of his claims further.

      C. Denial of Release Motion Violated Rule 72

      Law’s objection that Magistrate Judge Joel violated Rule 72 of

the Federal Rules of Civil Procedure by denying his October 17,

2008, Release Motion as moot is also without merit. In light of the

Court’s conclusion that all of Law’s claims must be dismissed, his

October 17, 2008, motion for release pending the disposition of his

§ 2255 motion is, in fact, moot, and the magistrate judge did not

err in denying it as so.




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      D. Law’s Final Objections

      Lastly, Law objects “to the [M]agistrate[’]s inferred proposal

that prejudice should not be automatically presumed.” Objection to

R&R at 5. The Court construes this objection as a contention that

the magistrate judge improperly presumed that Law suffered no

prejudice when reviewing Law’s ineffective assistance of counsel

claims. The magistrate judge, however, made no such presumption,

relying instead on Strickland, which concludes that there is “a

strong presumption that counsel’s conduct falls within the wide

range of reasonably      professional assistance.” 466 U.S. at 689-90.

Therefore, given that the magistrate judge made no such presumption,

Law’s   objection    that   prejudice      should   not    be    presumed   in   an

ineffective assistance of counsel claim is without merit.

      Additionally, Law contends that his pro se brief should have

no impact on his claim that he received ineffective assistance of

counsel on direct appeal. Contrary to Law’s objection, Magistrate

Judge Joel gave no effect to Law’s pro se brief when he concluded

that Law provided no evidence whatsoever that his counsel was

ineffective.     Rather,    he   recognized    only       that   Law’s    petition

contained conclusory statements that failed to establish that his


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counsel’s performance fell below an objectively reasonable standard,

and also failed to show that Law was prejudiced by any asserted

deficiencies. Magistrate Judge Joel reasoned that, even if Law had

succeeded    in    making   the    threshold    showing   that   his   counsel’s

performance fell below an objectively reasonable standard, it would

be debatable as to whether he was also prejudiced by such a

deficiency because, by filing a pro se brief, he was not deprived

of the opportunity to raise an additional ground for relief. Given

the   magistrate     judge’s      correct    conclusion   that   Law   failed   to

adequately plead how, if at all, his appellate counsel’s performance

fell below an objectively reasonable standard, this objection is

moot.

        Finally,   Law   asserts      that    the   Fourth   Circuit    gave    no

consideration to his pro se brief. The magistrate judge correctly

observed, however, that the Fourth Circuit had considered Law’s pro

se brief when it rejected his appeal. See Letter from the Deputy

Clerk, the United States Court of Appeals for the Fourth Circuit,

to Darrell Law (Aug. 4, 2008) (stating that “[t]he court did review

your entire case, including your brief”).




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      E. Motion for Certificate of Innocence

      After filing timely objections to Magistrate Judge Joel’s R&R,

Law also filed a separate motion for certificate of innocence

pursuant to 28 U.S.C. § 2513 (“§ 2513 motion”). That motion purports

to   seek    damages   for   Law’s    allegedly    unjust   conviction     and

imprisonment under 28 U.S.C § 1495. Section 2513 of Title 28 of the

United States Code provides, in pertinent part, that:

            (a) Any person suing under section 1495 of this
            title must allege and prove that: (1) His
            conviction has been reversed or set aside on
            the ground that he is not guilty of the offense
            of which he was convicted, or on new trial or
            rehearing he was found not guilty of such
            offense, as appears from the record or
            certificate of the court setting aside or
            reversing such conviction, or that he has been
            pardoned upon the stated ground of innocence
            and unjust conviction and (2) He did not commit
            any of the acts charged or his acts, deeds, or
            omissions in connection with such charge
            constituted no offense against the United
            States, or any State, Territory or the District
            of Columbia, and he did not by misconduct or
            neglect   cause   or   bring  about   his   own
            prosecution.

28 U.S.C. § 2513(a)(1)-(2) (2010). In his motion, Law proffers

nothing to show     either (1) that his conviction was reversed or set

aside, (2) that he had a new trial or rehearing where he was found



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not guilty, or (3) that he has been pardoned for his innocence of

the conviction. Furthermore, even if Law had satisfied the first

threshold requirement of § 2513, he failed to provide any evidence

showing (1) that he did not commit any act of which he was charged,

or any act in connection to the act of which he was charged, or (2)

that   he   did   not   bring   his   prosecution    upon    himself   through

misconduct or negligence. Instead, Law simply avers that he was

prosecuted in an unfair and malevolent manner, and is, therefore,

innocent.    Such   bald   contentions     fail   entirely   to   satisfy   the

requirements of § 2513 and do not entitle Law to a certificate of

innocence. See Betts v. United States, 10 F.3d 1278, 1283 (7th Cir.

1993) (holding that “28 U.S.C §§ 1495 and 2513 provide compensation

only to those who can show that they are innocent of any crime); see

also United States v. Racing Servs., 580 F.3d 710, 712 (8th Cir.

2009) (concluding that “[t]he decision to deny a certificate of

innocence is committed to the sound discretion of the district court

. . . the petitioner must persuade the district judge who presided

over their criminal prosecution that they were truly              innocent of

all crimes to qualify for civil damage relief. Innocence of the

petitioner must be affirmatively established”). Therefore, because


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Law has failed to establish his innocence, his § 2513 motion is

without merit and must be denied.

                                 VI. CONCLUSION

      For the reasons discussed, the Court ADOPTS Magistrate Judge

Joel’s R&R in its entirety (dkt. no. 26), DISMISSES WITH PREJUDICE

Law’s § 2255 petition (dkt. no. 1), and DENIES his § 2513 motion

(dkt. no. 30).

      It is so ORDERED.

      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, this Court declines to issue a certificate of

appealability as Law has not made a substantial showing of a denial

of a constitutional right.         28 U.S.C. § 2253(c)(2); Miller -El v.

Cockrell,    537   U.S.   322,    336-38    (2003)   (in   order   to   satisfy

§ 2253(c), a petitioner must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional

claims debatable or wrong)(citing Slack v. McDaniel, 529 U.S. 473,

484 (2000)).

      Pursuant to Fed. R. Civ. P. 58, the Court directs the Clerk of

Court to enter a separate judgment order and to transmit copies of



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each Order to counsel of record and to the pro se petitioner,

certified mail, return receipt requested.

DATED: July 2, 2010.



                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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